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                               PLANNING AND ECONOMIC DEVELOPMENT COMMITTEE

                                                     AUGUST 16, 2022

A meeting of the Planning and Economic Development Committee was held Tuesday, August 16, 2022, at
7:10 p.m. in the Aldermanic Chamber.

The roll call was taken with 5 members of the Planning and Economic Development Committee present:
                                       Alderman-at-Large Melbourne Moran, Jr. Chairman
                                       Alderman-at-Large Michael B. O’Brien, Sr., Vice-Chair
                                       Alderman June M. Caron
                                       Alderman-at-Large Ben Clemons
                                       Alderman Derek Thibeault

Also in Attendance:                      Alderman-at-Large Lori Wilshire
                                         Alderman Patricia Klee
                                         Alderman Ernest A. Jette
                                         Alderman Tyler Gouveia
                                         Alderman Alex Comeau
                                         Tim Cummings, Economic Development Director
                                         Rich Lannan, President, Nashua Performing Arts Center


ROLL CALL

PUBLIC COMMENT

Alderman Moran

I’m going to open up the Public Comment if there is anyone here from the Public that would like to comment on anything
being acted upon tonight. We are essentially going to be just listening to and having discussion from Director Cummings
on the Performing Arts Center and the Elm Street Middle School. Seeing no one. Director Cummings?

DISCUSSION

     •   Update on Performing Arts Center

Tim Cummings, Economic Development Director

Thank you Mr. Chair. If I may I’d like to start with the Performing Arts Center status update and with us this evening we
have Rich Lannan, President of NPAC Corp., and he’s actually going to give the more technical update on the project.

As Mr. Lannan is getting situated, I just want to say it’s been about a year since I provided an update to this body. So it’s
great to be back here. We have kept this project on track and I am pleased with where we are and I’ll let Mr. Lannan go
into more details on that. Before we do that, I thought it would actually behoove us to kind of go back to the way the deal
was structured. I say that because over the last few weeks, I’ve been hearing some chatter out in the community that
made me say I think some people don’t necessarily the fundamental tenants of how the deal was structured. We have
presented this slide to this body on numerous occasions. So members of the Board of Aldermen who have been here for
a while probably recall seeing this but in addition to some of the community conversations I’ve been hearing, I figure the
newer members of the Board of Aldermen who may be with us this evening may be the first time that they’re really seeing
this and it will help orientate them.

So if I may Mr. Chair not directly status update on the current project but I think it goes to the fundamental tenants. So
what this slide shows is how we structured the New Market Tax Credit. I don’t have a laser pointer but I’ll kind of walk you
through it. Hopefully you can all see it. So the New Market Tax Credit was a major component of the financing plan for
the $25 million Performing Art Center project. I say $25 million, that’s the total project cost. That is all the money that is
going towards this project. I’ve heard over the weeks that we’re at $30 million plus for this project. I don’t know where
those numbers are coming from. No additional bonded debtedness from the City has been authorized. We are at $25
million and we didn’t even put all $25 million in. As noted, the New Market Tax Credit and Nashua Community Arts
contributed significant capital to that $25 million figure.
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So with that being said up in the left-hand corner you’ll see City of Nashua. So up here we have the City of Nashua. So
this started the actual genesis of the project with the vote. I think that says $13 million right there - $13.1 million and $7
million is a loan. That $7 million got pushed down into 201 Main Street Financing Corp. 201 Main Street Financing Corp.
was one of the entities you created to effectuate this deal. This is what’s referred to as “senior leverage lender”. It’s a
standard New Market Tax Credit structure. You push the dollars into this entity. This entity’s sole purpose is only to
advance money. It was created just to push money through the system that we created. It does nothing else. It’s a very
sleepy and dormant type of legal entity that we created. Again, not uncommon. Very common structure that banks are
used to seeing.

So then the money goes into an investment fund. That $7 million comes into an investment fund. I’m going to move over
to the other side of the equation here because you have the investor equity and the investor equity came in. That came in
and you got about $9 million and change. That $9 million funnels through this system here so you have an investment
fund. The investment fund creates a sub CDE. The Sub CDE basically pushes the money down on through with taking
off various fees for various services that are being provided onto what’s referred to as the QALICB. No which pushed
onto NPAC Corp. NPAC Corp. and typically seen as the QALICB in most New Market Tax Credit transactions. Because
of the uniqueness of the municipal structure, our tax attorney, who helped us put this structure together along with
Mascoma, the equity which was the bank that invested in this project, recommended that we create 201 Main Street Real
Estate Corp. which is typically thought of as the QALICB but because of that uniqueness, we created another entity
underneath this called NPAC Corp. NPAC Corp. is technically the entity that is the QALICB.

What is a QALICB? QALICB stands for qualified area low income corporation or business and that is the entity that
actually is the beneficiary of the New Market Tax Credit. So basically this 201 Main Street entity was another legal entity
that was created, again, for very minor purposes just to push the money on down through to NPAC Corp. which isn’t
shown here but is basically a box right underneath this chart right here. Again, it’s just a holding chamber that’s a
subsidiary if you will of 201 Main Street Financing Corp. It’s a private corporation. 201 Main Street Real Estate Corp. is a
non-profit; 201 Main Street Financing Corp. is a non-profit; and NPAC Corp. is a for-profit corporation.

Now with that being said, part of this $25 million - about $1.6 million came from Nashua Community Arts through private
fundraising. That had nothing to do with the City of Nashua. That was pushed on through to this legal entity and all the
money converged into what’s NPAC Corp. Then NPAC Corp. is the owner and developer of what we refer to as the
Performing Arts Center and now known as the Nashua Center for the Arts.

So how is the City of Nashua involved in this project? Well on the back end, you have what we refer to as a master
tenant. We have a lease for the entirety of the building. We are what’s referred to as the “master tenant”. We’re up here
at the beginning and we’re down here at the bottom. So we have total control over the building on the other side of this
system and we are the beneficiary of the New Market Tax Credit through the system that we just created. We are not
operating the Performing Arts Center. We have a third party operator called “Spectacle”. They now rebranded
themselves as Spectacle Live but at the time we referred to them as Spectacle Management. They are the operator. In
between, the City of Nashua which has a lease agreement, and the operator, we created another entity. This entity is not
a legal entity. This entity is a creature of the City of Nashua that is very similar to the Hunt Board that is currently in place.
This is a board that has not been populated yet and I would think is something that would get constituted sometime
between now and the next 6 months. By the first of the year, the goal would be is to have this what we refer to as the
NPAC Trustees. This legislation was already passed. It was part of the omnibus legislation that put this whole system
together. This NPAC Board is really the entity that would have operational oversight of Spectacle. That’s why it’s
highlighted here. Again this was a slide that we use during the omnibus presentation, so you see all these differing
approvals because when we gave our presentation to the Board of Aldermen, the omnibus legislation called out for
various approvals. We wanted to just kind of highlight and know what approvals were what.

So I say that to you so you have an orientation as to how the $25 million comes to be because it doesn’t all come from the
City of Nashua. To point out clearly that NPAC Corp. is the owner and developer of the structure. So that means
technically 201 Main Street is actually in the jurisdiction or in the ownership of NPAC Corp. The City of Nashua no longer
owns 201 Main Street Corp. Again, that was something that was done during the time of putting this project together.

So separate issue that has come up from time to time, I’m not going to get into it now but it’s been questions about well
does the City of Nashua need to pay taxes on that? The answer is yes. We legally have to pay taxes on it but the exact
dollar amount that we pay in taxes we get back through what’s referred to as a distribution. So NPAC Corp. will pay the
City of Nashua the taxes that it receives from the City of Nashua and then it will distribute that same dollars back to the
City of Nashua so it nets out to zero. There’s been some confusion on that but that is again something legally we have to
do because there’s a legal requirement that every private entity get accessed fair market value of the taxes and you can’t
exempt certain entities. So it just nets out or balances to zero.
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Chairman Moran

Why don’t we pause right there and see if there are any questions before we go forward?

Tim Cummings, Economic Development Director

Sounds good.

Chairman Moran

I can understand why a lot of people are confused because we’re not bankers or lawyers. Well a couple of us are. But
does any Aldermen have any questions about how this was set up if you weren’t on the previous Board?

Jerry Henrickson

I’m just a citizen out of 8. How about you talk about all this little money. Who’s controlling the $29 million dollar bond?
You’ve given up control of the thing to some little company?

Chairman Moran

Your name and address.

Jerry Henrickson

Jerry Henrickson. I live in 10 Wagon Trail in Ward 8.

Chairman Moran

It’s not public comment but I’m allowing you to ask the question. Let’s have it answered. Have a seat.

Tim Cummings, Economic Development Director

Okay so first it’s not $29 million. That’s first. The total project cost was $25 million. City of Nashua off the top of my head
was approximately $20 million give or take. That $20 million went into a pot of money that is controlled by NPAC Corp.
NPAC Corp. has legal agreements with the City of Nashua to execute exactly how it was described and designed. They
couldn’t just run off with our $20 million. With that being said, all of the contracts were approved and put in place by the
City of Nashua and assigned to NPAC Corp. as well which basically says that they can only do what it was specifically
created to do. This has all been memorialized in legal agreements which is how we were able to move forward with this
deal. It was the only way because the same concern that’s being raised right now about the City of Nashua’s money is
the exact same concern that Mascoma Bank the investor had as well because they put in a significant amount of money.
Something like $2.5 - 3 million for this project to move forward. And they would want to safe guard and secure that
investment as well.

Chairman Moran

Alderman Jette?

Alderman Jette

Just for clarification, the $1.6 million that came from Nashua Community Arts is that the fundraising that was done. Am I
correct? So the $1 million is naming rights is that included in the $1.6 million?

Tim Cummings, Economic Development Director

Above and beyond. So they’ve continued their fundraising efforts beyond the $1. - I think I’m looking at this slide and its
$1.553 to be technically accurate. So again, I want to point this is a separate legal entity. No affiliation with the City of
Nashua. Went out and solicited the community. I do not know who contributed. I want to be very clear, the City of
Nashua does not know any of the donors but we do know that they raised at least in this point in time as of December of
2020 $1.5 million - $1.553 million which they contributed to the project. To answer your question was prior to the $1
million that’s on top of the money that was given.
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Alderman Jette

I think you’re trying to be as clear as you can. So the $1 million naming rights is in addition to this $1.6 or $1.5?

Tim Cummings, Economic Development Director

Correct.

Alderman Jette

Okay. Thank you.

Tim Cummings, Economic Development Director

Okay. So last slide here, kind of just a cool little slide I wanted to show you. This is actually from our architectural
consultant. He just put this up on his Linked In the other day. It shows you a view of what they designed, and what we
believe will be there, and what actually it looks like in the interior right now. So I wanted to share that with you because
this is - if you were looking out from the stage, this is what you’d see right now but when it’s all said and done, it will be the
imagine on the right which I thought was pretty interesting and unique.

With that being said Mr. Chair I’m going to hand it over, if I may, to Rich Lannan to give a more technical update on where
we are with the project and then to accompany that update I teased out some photos that I can show you after his
comments if you will.

Chairman Moran

Mr. Lannan?

Rich Lannan, President, Nashua Performing Arts Center

Thanks. Rich Lannan. Tim kind of mentioned so I wear a few different hats. So I’m the President of NPAC Corp. I am
on Zoom but take part of the weekly construction meetings and any other meetings that are spread off of those
construction meetings with the construction team, which is Hardy Construction, ICON Architect, and Spectacle, and Tim
Cummings, and sometimes others. So we have some. Very involved in all of that but I’m also the President of Nashua
Community Arts which is the 501 (c) 3 non-profit that I’ll come to. Tim do you mind showing that last slide for one quick
second. I know it’s hard when you’re looking at it quick.

So you have to look close and obviously there is a lot of scaffolding in their now but if you look through about a little more
than half-way up on the one on the left through the scaffolding, you’ll see those seats. Right now they’re not seats
obviously they’re concrete slabs that the seats will be on. Like Tim had mentioned so if you look at the one on the right
with the seats in it, you can see the platforms that those seats will be on up to their scaffolding. Walking through there is
pretty interesting and seeing what’s been going on lately but the scaffolding kind of blurs it a little bit.

So basically, I just wanted to give you a little of an update as part of the construction aspect and Tim went over numbers.
Obviously, it is confusing. Even though it’s been discussed at multiple Board meetings in the past like you said and it’s all
because of New Market Tax Credits. So you say well we had to create all of this and we wish we didn’t have to go
through all of that and create all these entities but we also wouldn’t have got $2.5 million. So $2.5 million is nothing to
sneeze at it to make it all worthwhile as more complicated and confusing it ended up being. That $2.5 million came a long
way but what came along with that is I know you’re doing a school project now and the City has done a lot of construction
projects that has obviously probably very good oversight. There are so many eyes and ears on this project because of
New Market Tax Credits. Mascoma Bank they have their consultants. We have our consultant. There is a lot of eyes
that look at every single dollar. It looks at every month of typical requisitions. Like any construction project, it goes
through the channels. This one is like multi-tiered and again from change orders to the dollars and cents is looked at
more carefully. I’m a real estate developer. I’m on a construction project now. There’s change orders in every project but
this one here it just has to be with Mascoma’s oversight.

From the timing, we’re very, very pleased of where the construction process is especially with what this world has been
involved in the last couple of years as we all know. I had mentioned this before if Hardy Construction hadn’t secured the
contracts that they did when they did, and I’m giving them credit, but a little bit was luck. If it happened 3, 4, 5 months
later, this project would have been a lot more expensive and we would have been in the situation where we’re way over
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budget because the costs could have been 30-40% high in some cases. Luckily that didn’t happen. They secured their
contracts and we had to shift things around and some contractors couldn’t do this or that, that’s what change orders are
but yet in spite of all that, we remained on budget. It is $25 million. As to mention, there’s been a lot of talk about $30
million and somebody said it in this chamber just last week something about $40 million. Its $25 total million dollars.

There’s never even been a 5 second conversation among the construction team, or Director Cummings, and myself, and
anybody to say gee we are in trouble here for budget. Never even been a though in anybody’s mind. It’s tight, it’s looked
at. Every nickel is looked at. We kind of joke and argue when Tim is fighting about $3,000 on something but $3,000 is
$3,000. We’ve been able to build the same quality product too. It’s not like we’ve got to trim this, and trim that, and make
this not quite the project we had looked at and talked to everybody about two years ago because none of us never mind
you folks in the public would have put up with that. We want the quality project. Spectacle Live, which I think some of you
know, we were so lucky that they came in early. Typically like they run the Lowell Auditorium and they walk in take over
150 whatever year old building and this is what you got. They were at every single steering committee. Pete Lally the
owner was at every single steering committee from the beginning and we looked at him and put a lot of pressure on him
and said what do you think? What do you think? I must have asked him 100 times. I chaired the steering committee as
well. After Brian McCarthy passed away, I took over that Chair. We literally put a lot of pressure on him in a good way
and he actually enjoyed it though saying no no you shouldn’t put loading docks here. You shouldn’t put bathrooms here
because our experience is because they’ve done a ton of experience in many theaters.

Lowell Auditorium I refer to a lot. I grew up in Tyngsboro and the Lowell Auditorium I’ve been to a hundred times but
they’re also doing the new Laconia Colonial Theater. They’re doing that and several others throughout New England.
Their experience has been huge even though we have an architectural firm that’s experienced in these. Spectacle Live
they’re at every single meeting and not just Pete Lally. A lot of the staff. We have now that we’re getting a little into the
technical side, we have their IT guys and some staff talking about stuff that is way over my head. The weekly meetings
are, again, we’ve had a lot of headway. We’re kept up-to-date. A lot of things right now it’s difficult because of the supply
chain. We thought we’d be in a lot more trouble than we are but we’re not. A lot of people every day ask us when is it
going to be done. Everybody constantly asks when is that first performance? Who’s the first performer? It’s impossible
to know yet unfortunately. So I wish I could be here today. We’re hoping that’s soon. I just say every week or every
couple of weeks you get that one step closer but we’re looking to hopefully get Certificate of Occupancy from the City of
Nashua maybe sometime by the first of the year between mid-December. It could be January 1st. Again, a lot of things
have to be just right obviously for a Certificate of Occupancy. During that period and even after that, they’ll be able to
occupy. There’s a lot of things like AV and a lot of the different things they have to do.

I just came from a Nashua of the Arts which I’ll talk about in a minute from our fundraiser committee meeting and talking
about the donor signage that we’re working on that will have to go in there once we get the CO. So there’s still give or
take. They’re talking a couple months of work that’s going to have to be done even after the CO. Does that bringing us to
that February to March timeframe, that’s what we’re hoping for. That’s at least our target. We have seats that are coming
from Belgium that they’re saying right on track but they’re coming from Belgium. We’re told again, they’re on schedule.
Completely on schedule. Things can happen unfortunately and anytime even a normal time never mind now, again, we’ve
been very pleasantly surprised that things have stayed relatively on schedule and the goals haven’t changed. I think just
as important and more importantly is the budget. We would never even think about and see that we would have to come
back to the Board or this Committee whatever to look for more money. It’s just not necessary. We’re able to pull it off
which is, again, with the cost of construction and everything else, it’s kind of a surprise. So we’re very happy about those
things and I think when we get a little bit closer obviously I think probably not putting it on Director Cummings tonight here
but I would think we’d probably want to come before the full Board. At some point, we can start making more secure - our
CEO is coming in in a few weeks and Spectacle thinks that we can have everything ready inside to put the lights on so to
speak.

During that timeframe, a lot of people will be hearing about we’re going to have once we get the CO, we’re able to have
open houses even while Spectacle is doing their thing before the big first show comes along. We’re going to have donor
open houses. We hope to have public open houses and get people to just get excited about it. I think we can do some
things during that time period and hopefully everything falls in place, again, in that February-March timeframe.

As far as Nashua Community Arts, I know Director Cummings has told Alderman Jette the situation that yes when we
toured it in December 2020, we had raised privately around $1.550 million round numbers not counting New Market Tax
Credits and that was handed over at that point because that was a requirement by the Board. Since then except for a
short period of time maybe about 6 months because through the heat of COVID in 2020, we probably took a little siesta
on that because we just couldn’t be calling people for money not knowing where this world is going to. So we had a small
lull but beyond that, I just came from a meeting before this and we have fundraising meetings which is part of the Nashua
of the Arts Board. There’s a lot of the Board members but also some others that are on that Committee. We meet a little
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less than once a month. Probably every three weeks that Committee meets. Nashua where the art meets pretty much
every month. We’ve only probably postponed one of two of those.

So the Board as well as the fundraising committee of the Board meets consistently. Not even going to talk about it yet.
We have another fundraising campaign that we think we’re going to announce the next week or so to the public. We just
joined the Chamber of Commerce this week. We want to be active in that and active with the members. The fundraising
hasn’t slowed up just because our only obligation was $1.550 million. That was we’ve got say we’re done but we knew we
weren’t. As different members, new members come onto the fundraising committee, a good diverse group that’s been
working really hard and yes that $1 million unanimous donor which we still say don’t you want your name on the building
when you hand over $1 million but they didn’t. I guess the only good out of that, we kind of like the name rather than a
name rather than being the Jette - sorry that you didn’t put your name out there for the Performing Arts Center. It was
only $1 million Alderman Jette. But having Nashua Center for the Arts is generic but generic sounds bad but I think it’s
good. They have input. The family - I don’t even know who the family is. One person knows who that unanimous donor
is and that’s it. They liked it, they asked for it, they went back and forth. We liked it. They liked it and having the word
obviously “Nashua” in it and having the Center for the Arts seemed better than a Performing Arts Center because it’s not
just about performances. As I think a lot of you probably know, it’s going to be galas. The Chamber can have a gala
there. You can have a wedding in there. It’s going to be a very versatile building and that’s what we’re excited about so.

Yes that million dollar donor and many donors, I mean we’ve got new donors every month whether its naming rights from
$5,000, to that million dollars, to we’re selling seats for $500 or $1000, we’re selling those. So I don’t have the number off
the top of my head how many donors but the City has really come out in a big way. We have four $100,000 donors. We
have a $250,000 anonymous donor as well. The name is not going anywhere that had came since then. There’s no
secret and I’ll say it because I know we’re not giving out donor’s private information. It was made very public very on that
Bank of America stepped up and gave $250,000. So I mean, again, we have like four $100,000 and they start going down
from there but we appreciate the $500 and $1,000 seats as much as we do everybody else. We will continue and Nashua
Community Arts won’t go away even when the doors open. Nashua Community Arts is going to be there. It might be
different members of the Board but it’s there to stay to continue fundraising for a lot of the community events that was
promised at the very beginning during steering committee meetings and others. I know a couple Board of Aldermen
members were on that Steering Committee and a lot was talked about what the money raised and also help on a yearly
basis to go towards community whether it’s the Veteran’s, whether it’s the elderly, and so forth. So that’s not going away.
 The Board of Trustees it was mentioned that’s really the oversight board of Spectacle Live. Nashua of the Arts is the
oversight of the money and continue raising money to go and work with Spectacle and put it in the right place. So
hopefully that helps, I wish I had more specific dates but I think that’s coming. We can’t wait to announce those. If there’s
any other questions about either Nashua of the Arts or the actual construction project, I’d be happy to answer.

Chairman Moran

So does Spectacle do we have to pay them a contract rate or are they going to keep the revenue? What’s the deal with
that?

Rich Lannan, President, Nashua Performing Arts Center

The latter. So Spectacle Live and you can’t even jump in but Spectacle Live, again, in new branding when the building
opens, we literally turn the keys over to them so to speak. This mirrors Lowell Auditorium not that it makes it right or
wrong. We think it makes it right. So we basically turn the keys over to them. They’re hiring custodians, they’re hiring the
ushers, they’re paying the utilities. So people say what’s it going to cost to light up when they see all the lights on in this
building? The City is not paying for that electricity or that heat. They’re paying for it. They’re paying all the bills just like
they own the building. They’re operating it likes it’s their building as far as an operations standpoint even though they do
have to answer obviously to our Board of Trustees eventually which also answer to the Board of Aldermen. The Board of
Aldermen get updates from the Board of Trustees. So that will be kind of chain. Spectacle will be giving to be Board of
Trustees their reports and then Board of Trustees will come – I guess I’m not sure if it’s been put in writing yet whether
that’s twice a year, 3 times a year, or whatever it is, and report back to the Board of Aldermen. So they will basically pay
for everything and then in turn, they have a show and they have a $30,000 contract for a performer, they’re paying at
$30,000. If they make $25,000, they lost $5,000. If they make 15, they made money. So they run it. They know their
business. So, again, if they lose a performance, they lose but if they make it, they make it and that’s how their contract is
set out. So it’s not costing the City anything for Spectacle Live. They run the show no pun intended.

Chairman Moran
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Could we just have a little quiet in the Chamber please? Thank you. Any questions from members of the Board for Mr.
Lannan? Alderman Comeau?

Alderman Comeau

Yes, thank you. Mr. Lannan mentioned that during the construction process a lot of change orders and approval and
things like that. I know for those of us that are on the Infrastructure Committee, we also sit on the Joint
Infrastructure/BPW Committee. There’s also a Joint Special School Committee that handles these sorts of things.
What’s the body that actually signs off on change orders and things like that for this? Is that NPAC Corp.?

Tim Cummings, Economic Development Director

Yes NPAC Corp. is the owner of the project. They are the developer.

Alderman Comeau

Can I follow up Mr. Chair?

Alderman Moran

Yes.

Alderman Comeau

Does the NPAC Corp. have any Aldermen on the Board for Aldermen oversight?

Tim Cummings, Economic Development Director

No.

Alderman Comeau

Do we know why not?

Tim Cummings, Economic Development Director

Yes, if I could. The New Market Tax Credit was very clear and the tax opinion says that that entity has to be a separate
entity for it to have the tax compliance to meet with the IRS Tax Compliance Laws that are out there. So it couldn’t be
looked at as having any type of control by the City of Nashua.

Alderman Comeau

Okay, thank you.

Alderman Moran

Can I just ask if the members of the public if you want to have a conversation if you could have it out in the lobby so the
Board members can have a chance to speak to Mr. Lannan? Any other Board members? Alderman Jette?

Alderman Jette

Thank you. So I understood what you said about the Spectacle Live once the building is done we turn it over to them.
They run the building, they rent it out, they hire the acts, they take the risk, and they get the profit. So the City is not
responsible for any operating costs once the building is finished?

Rich Lannan, President, Nashua Performing Arts Center

That’s correct.

Alderman Jette
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But the cost of paying for the bonds and everything, so we have that responsibility. Is there any potential income from this
that could help pay for that or is that because whatever income there is just goes to Spectacle and that’s…

Rich Lannan, President, Nashua Performing Arts Center

The income from like performances if they make a profit and so forth, yes that stays with Spectacle.

Alderman Jette

Am I missing any other income that might help pay for the bond?

Tim Cummings, Economic Development Director

If I may? So Alderman Jette I think what you’re referring to is some of the miscellaneous revenue that may come in that
we’re not promised and it will come over time. Depending on what category this miscellaneous revenue comes from, it
can be used for specific purposes. For instance, I’m going to say off the top of my head each ticket that gets sold $1
needs to be set aside for deferred capital maintenance that would accrue to the City of Nashua not to Spectacle. That is,
again, in the operator agreement.

Not right away but over time, there is a percentage of concessions, including liquor that would come back to the City of
Nashua. That is not designated as to how it could be used but if the Board of Aldermen elected to put it towards paying
off some of the debt service, you could do that. Then another revenue source, again, small dollars but will add up over
time - merchandise. The City of Nashua will get a percentage of merchandise and again depending on what you want to
do with that, you could apply that to various expenses.

Lastly, Spectacle Live has made a commitment to give, I believe, up to $25,000 a year and that has to be used specifically
for like marketing of the Nashua Center for the Arts. All this that I’m saying to you, don’t hold me to the specific details but
it is memorialized in the operator agreement and you can look at it there. If I may Mr. Chair, I just want to further clarify
the question that was asked a few moments ago because I think it further answers the question about Aldermanic
oversight?

Chairman Moran

Go ahead.

Tim Cummings, Economic Development Director

Again, the thought process was to have very sleep and dormant entities. It’s the NPAC Trustees that is going to live on
and that has oversight over the operator agreement and will be the direct buffer on behalf of the Board of Aldermen for
Spectacle Live. That entity that was already approved and created by this body actually through the wisdom, I believe, of
Alderman Clemons has one or two Aldermanic voting liaisons on it. Is it one? And so that is the group really that is going
to have the closest relationship with the Nashua Center for the Arts once it gets operational.

So I say that to you because NPAC Corp. at 201 Main Street, these were entities really created just to effectuate a very
limited project for the development of it and as you see, the City of Nashua becomes the master tenant and then we work
with Spectacle Live at the end.

Chairman Moran

Jerry I can here you better than I can hear Mr. Cummings. Alderman Clemons?

Alderman Clemons

Thank you. The Performing Arts Center is also in the TIF District as well, correct?

Tim Cummings, Economic Development Director

Yup.

Alderman Clemons
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So and in that district is the new building on School Street, the School Street Project so the tax revenue from that is going
to help pay for the debt service on the bond as well, correct?

Tim Cummings, Economic Development Director

That’s correct. A few moments ago, I alluded to the fact that the City of Nashua’s obligation is something like $20 million.
 Fifteen of that is, you know, what committed to be like general obligation, taxpayers. Residential taxpayers understood
that that would be their commitment to the project. That other $5 million still a general obligation bond but it was done in a
way to show and very much designate the future tax dollars from the School Street Project would go to paying that $5
million differential to show that the other $5 million that needed to be spent wouldn’t come from the residents of Nashua
more than what was already committed to in that $15 million dollars.

Chairman Moran

I’m sorry if I missed it. So the Board of Trustees would that be maybe appointed by the Mayor and confirmed by the
BOA?

Tim Cummings, Economic Development Director

Correct. That hasn’t happened yet but I would like to see that happen sometime in the next six months now that we’re
kind of rounding out this project and it will be operational.

Chairman Moran

Alderman Thibeault?

Alderman Thibeault

You already answered the question.

Tim Cummings, Economic Development Director

Can I show you some photos or do you want me to wait?

Chairman Moran

Let’s let Alderman Klee ask her question.

Alderman Klee

It’s not so much a question but I just want to make sure that I do understand this. If I remember correctly when the New
Market Tax Credit went in and we had to create this entire tour de force so to speak, it’s a seven year obligation that we
have to maintain it in this fashion, correct? That’s part of that IRS obligation in order to qualify for it and once that seven
year is up, then things can change and the City can take ownership back etc. and we don’t need these QALICBs, and
QALICs, and all that stuff, correct?

Tim Cummings, Economic Development Director

That’s correct. So the compliance period is seven years and this was structured in a way so the apparatus that was
created will collapse. In theory because of course you need to elect to do all this but it was structured in a way so that it
can be done as easily as possible. It would come back within the jurisdiction of the City of Nashua after that compliance
period - the seven year compliance period.

Chairman Moran

And you have some more pictures for us?

Tim Cummings, Economic Development Director
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I do. I just want to kind of bring you around the back exterior of the building, show you the back, the front, the progress so
you can all see. It’s made quite the dramatic change to Main Street. You can see this has all been taken over the last
week or two.

Rich Lannan, President, Nashua Performing Arts Center

Over the last couple of days all the glass is down on the first level for the most part. If you haven’t been even this week, a
lot of glass has installed.

Chairman Moran

I have a design question. So in the interior, you said there could be galas and such. Do the chairs get removed?

Rich Lannan, President, Nashua Performing Arts Center

Yes, so it’s 750 seats. Everybody is seated but the whole first called “orchestra level”, those seats even though they’re
still you cushy theater type seats that you’re used to sitting at, they’re telescopic, roll back onto a wall, and now you can
have a 250 person Chamber gala, or a wedding, or any event.

Chairman Moran

A rock concert maybe?

Rich Lannan, President, Nashua Performing Arts Center

Well so I was getting to that. You beat me to it. So basically when you do that, they can actually for a rock concert now
that occupancy level that’s been approved by the Building Department it goes up to a thousand people. So you can add
another 250 people standing over and above the 750 that are sitting down. You can have a thousand people in there for a
rock concert, or you can have 250 people in a gala, or you can have 750 people sitting in seats.

Chairman Moran

I’d love to be downtown for a rock concert following in reverse in particular.

Rich Lannan, President, Nashua Performing Arts Center

So that’s what’s great about is the flexibility. They’re also going to be renting out like you have the terrace roof deck that is
overlooking Main Street. You can see it. It took shape now. Sixty or sixty-five people in that range I think it would have.
They can rent that out say, again, it could be a family, it could be a small business. There’s a VIP room that has a glass
wall that have curtains inside. That can be rented out separately the night of a performance. So there’s a lot different
smaller things or smaller groups that can be working either by itself on a day, or completely at the same time, or prior to a
concert.

Chairman Moran

I have a question. I guess I’ll recognize myself. I’ve been to many concerts in the entire country and I went to one in
Charleston that’s called the “Music Farm”. I said to myself how is a rock concert going to happen in this small a venue
and they made it happen probably upwards of a thousand people. It relates back to this because I hear in the community
through the grapevine that it’s not enough seats to have any time of performance. You’re not going to really turn a profit
off of 750 seats or what not but hearing that the things roll back, yeah there’s other opportunities. It sounds like more than
ample seating plus some.

Rich Lannan, President, Nashua Performing Arts Center

Yes. The Colonial Theater which is already, they’re way above expectations already in Laconia according to the owner of
Spectacle. They’re thrilled with what they’re getting already and they’re about the same size. Again, we can go bigger with
a rock concert or something with a thousand but they literally can have a couple things going on in the afternoon in some
of these smaller areas that they’re getting revenue from, and people get the experience of it, and then at night all of a
sudden you’re having a (inaudible) of a performance. So it’s just very versatile is what it comes down. When Spectacle
got involved, the original spending study said between something like 500-700 people and Spectacle said we can handle
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750. That’s the sweet spot. We have the right core of theaters that we can and the right type of performers that’s 750.
We joke about getting Bruce Springsteen and Taylor Swift. Obviously, that’s not happening unless you want to sell tickets
for $2,000 but there’s a lot of people – Tupelo - same kind of size. Tupelo has a lot of really good shows. So yeah it’s
not going to be the kind of shows you get at the Garden or Verizon Center but there’s a lot of performers out there that will
come to this size theater.

Chairman Moran

A couple of summers ago, Weird Al came to Boarding House Park in Lowell and that’s outside and not 750 seats. So I’m
sure we can get some good names.

Rich Lannan, President, Nashua Performing Arts Center

And again, they’re the ones that are taking a lot of risk in this as well and they’re very comfortable with the size that they’ll
be able to sell tickets for.

Chairman Moran

Any other questions for Director Cummings or Mr. Lannan before we move onto the next presentation? Do you have
anything further?

Unidentified Speaker

No, I do not.

Chairman Moran

Thank you Mr. Lannan for coming in.

Rich Lannan, President, Nashua Performing Arts Center

Thank you.

     •   Update on Elm Street Middle School building

Chairman Moran

Update on the Elm Street Middle School. Director Cummings?

Tim Cummings, Economic Development Director

Yes thank you. If you could just give me one second. I’m going to pull up the Elm Street Middle School. So this is
something that I’ve discussed with the Infrastructure Committee over the past few months. We’ve had a couple
community meetings but I’m glad to be here before…

Unidentified Speaker

Why don’t we have public comment on that before they go to the next topic?

Chairman Moran

Oh we had the public comment at the beginning Sir.

Unidentified Speaker

No you didn’t. You wouldn’t listen to me. You told me…

Chairman Moran

Oh no, we took your question. I took you out of order. I took your question out of order after public comment.
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Unidentified Female Speaker

We’ll do it at the end.

Chairman Moran

We’ll do it at the end again. I had public comment at the beginning. I just want to explain this so there’s no confusion for
the public. You didn’t come up at that time but then you had a question and I allowed you to come up out of order.
Director Cummings then answered your question right after.

Unidentified Speaker

I thought that public comment had to do with the previous session?

Chairman Moran

I see. So you save your questions. I’ll make sure Director Cummings sticks around to answer them. How’s that?

Unidentified Speaker

That’s fine. Well I want everybody to hear the answers.

Tim Cummings, Economic Development Director

Okay. So if I may Mr. Chair. Again Tim Cummings, Director of Economic Development. I have been working my way
through the feasibility study and the analysis of the Elm Street Middle School as I mentioned. This is a project that’s been
before the Infrastructure Committee a couple of times. I’m glad to be here before you and the Planning and Economic
Development Committee to talk a little bit about this project as more community engagement and consensus is necessary
that will hopefully result in a product that everyone will be proud of.

So the City procured Marvel Architects six or so months ago to start the planning study for the Elm Street Middle School.
For those of you who may or may not know and this is really for the viewing audience at home, the Elm Street Middle
School will be turned back to the City of Nashua sometime in spring/summer of 2024. So the question then arises what is
the City of Nashua going to do with this building and more specifically the land area that it encompasses. I have been
charged with trying to help develop that consensus and hopefully more forward with the plan that is actionable that will put
this land and potentially building in productive use sometime post 2024.

So again just a quick reorientation. We had a couple community meetings March, July. We did some surveys. So you
have a second survey that’s up on the website right now. I actually had a conversation with Alderman Comeau earlier
today that he pointed out that there might be some trouble - technical difficulties with the survey. So we worked through
that and we are going live with our second outreach effort for surveys and solicitations to the community. This will be up
for quite a few months where we will we’ll be looking for further input. Based off of what we presented at the July 11th
Infrastructure Committee meeting and community meeting that we had.

And so I’m just going to quickly run through what was shown there at this meeting basically to help orientate the
conversation. I’m going to keep my comments brief this evening because we really want to open it up to you all to hear
your thoughts, your comments, and continue the engagement that will hopefully lead towards a development strategy that
we can all be proud of. So with that being said, obviously it’s the historic building. This is the nine or so acres in its totality
and the Keefe Auditorium which I know is near and dear to a lot of people’s hearts and is a subject to a lot of conversation
as to what we should and shouldn’t do. Ultimately whatever this community decides is going to drive the development
potential and development decisions and strategies for this other what I would say is eightish or seven to eightish acres.
So again, Keefe Auditorium, the historic school building, this whole area that’s outlined in blue is just over 9 acres.

So we’re in the community engagement exercise right here. We’re going to continue along this timeline. Originally, I had
this project scoped out where we would be wrapping this project up sometime in September. With my hope, we would
issue an RFP and move forward more with the discussion about what type of development or what type of outcomes we
would like to see. It’s clear to me after the initial community engagement that we need to study this a little bit more, we
need to continue engaging with the community a little bit more so we’re not moving this project along as quickly as
originally conceived. I think that that’s probably welcomed as we still need to arrive at a consensus that hopefully
everyone will be amendable to.
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So this just kind of outlines some of the engagement activities that have taken place so far. So besides the community
meetings, we did some pop-ups. There was a road race at Holman Stadium. There was solicitation at the Shaw’s, which
is the local grocery store right across the street. Really tried to engage the public to get their feedback and get a sense as
to what it is that the community is interested in. It’s interesting because we’ve heard all various types of ideas and
concepts used. Ultimately what was kind of developed as an idea that seemed to resonate with the most people was the
idea of low rise development, multi-family type of apartments, maybe condominiums not to rule that out but what I refer to
as low-rise type of building structure on this nine acres is what seems to be the consensus from the community at this
point in time.

So then the Keefe Auditorium, again, we’ve got to continue looking at that and studying this. Something to note, we’ve
been studying the usage of the Keefe Auditorium. Something that I want to make sure everyone is aware of is the amount
of times that it’s being used like in the school vis a vie if it was in the private sector hands or vis a vie if it was in the City of
Nashua’s hands, it has limited opportunities right now. That’s just what we’re finding from a data perspective but by no
means does that mean that there couldn’t be more usage, but it’s just something that we should be aware of is how it’s
currently being used right now. Again, just some more thought process on the Keefe.

Based off of the feedback and some design principles of making sure we balance the development, we create a vibrant
place, fostering community, and hopefully having an expanded positive impact on the community. The question is do you
maintain the existing structure and when I say the existing structure I’m referring to the historic elements of the building
along with the Keefe. Do you maintain just the Keefe and do new development, or do you knock the Keefe down and do
all new development, or leave it as green open space? That is something that could be contemplated as well and
something that we haven’t heard a lot of outside of the community but we have definitely heard that type of commentary
from within the Board of Aldermen and we know that within the horseshoe here, there seems to be some sentiments but
that doesn’t gain as much traction outside of the horseshoe here. I only note that from the feedback that we’ve been
getting from engaging the community.

So we’ve been looking at some differing type of development styles, you know, again trying to preserve the Keefe,
maintain the Keefe only, preserve the historic structure, or all new development. Then with the idea of all new
development, who says that you couldn’t leave some part of it as green open space. So these are some of the ideas that
are being tossed around. Again, these are just more visual aides to help give you a sense as to what can be
contemplated on the nine acres. By no means are we suggesting any type of development occur out of these three
strategies. This is more of a tool to, again, elicit feedback and engagement from the community.

You can basically get a sense as to how this is laid out and what some of the trade-offs are. One of the trade-offs that
may or may not be acceptable to the community is either reintroducing or not reintroducing the street grid. So
understanding how you might be able to potentially connect and continue on through that street grid and how you’d like to
do it is a big design principal that’s something that you should think about. If you know this development, you wouldn’t be
able to continue on all the way through. But those are the types of high-level design concepts that are being contemplated
right now. Again in this one you can see just basically one access point.

We looked at parking and obviously parking is a big driver of the conversation and how it can be handled making sure that
we’re keeping that very much cognizant in our mind. The idea maybe there’s an idea of building a parking structure that
is wrapped by a liner of apartments or housing of some sort. It’s not uncommon these days to see something like that.
Again, this would be privately driven. I’m not suggesting that this would be a new public parking lot, or parking garage, or
parking structure but it would be a way of introducing more parking supply to the community.

So once you look at this, you can kind of get a sense of the strengths and the weaknesses, what you want more of, what
you want less of. What this did was it helped those that we’ve been engaging kind of get a sense of what they like and
what they didn’t like. What they may want more and what they may want less of. So when we did the community
engagement, we broke out into break out rooms and we solicited that type of feedback in small group sessions. I’m going
to stop my comments now in case that this body here wants to ask any questions before I continue on.

Chairman Moran

Alderwoman Wilshire?

Alderman Wilshire

Thank you. Can you tell me how big the Bronstein area is? How big is that property?
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Tim Cummings, Economic Development Director

Let’s see. That’s a good question.

Alderman Wilshire

I’m just curious if it’s bigger than the Elm Street or maybe a little smaller.

Tim Cummings, Economic Development Director

I think it’s a little smaller. I’m guessing it’s about 4 acres but I’m going to double check that. So it’s 4 acres - 4.18 acres.

Alderman Wilshire

Thank you.

Chairman Moran

Where Elm Street is after my recent crash course in zoning, you could build up to like 10 stories in that area technically?
Not to say that a developer would do that but.

Tim Cummings, Economic Development Director

That’s not what we’re hearing from the community. They’re looking for what’s referred to as mid-rise but let’s see what
the zoning says because I’m not sure that this area is actually as zoned as dense as that. So this is “C” which is
commercial urban residence. It is not, just by a hair, the zoning you are referring to is this one right here. So we’d have to
move this property boundary line to like right there to do what you talked about but that zoning analysis will come about as
we continue with the feasibility study. I suspect before we do any type of RFP, there will be recommendations in the study
that will suggest that zoning changes and what the land use right regulations are will be articulated and it’s up to this body
to decide whether you want to move in that direction or not. That’s to get the type of development that will be previewed in
that planning document.

Chairman Moran

I just want to clarify. Is there a cost associated with this right now for the City because I’ve heard a lot of people reach out
to me about it potentially costing $30 million to maintain the Keefe?

Tim Cummings, Economic Development Director

So I’ll get to that. Happy to get to that but did you want to continue conversation on density and uses or do you want me to
go right to the Keefe conversation?

Chairman Moran

Anyone else on density?

Alderman Clemons

Yeah. I guess I’ll reserve my comments because I think I’d like to hear more. I have an opinion on that but I’d like to hear
more first.

Chairman Moran

Alderman Comeau?

Alderman Comeau

Yes thank you. Just about the density to what Director Cummings was saying. There doesn’t seem to be a whole lot of
support from the people that I’ve been talking to about high-rise development. Low to mid-rise development seems to be
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the consensus for what people want to see for housing in that area. They don’t want to see sky scrapers, or ten story
buildings, or anything like that.

Chairman Moran

I just want to clarify. I wasn’t implying that we would do that. I was recently meeting with Director Sullivan about zoning in
the City and was surprised on how many areas you can actually go up to like 10 stories.

Alderman Comeau

It was one of the few areas that people to actually agree.

Chairman Moran

That and one particular point. That’s good. Any other questions on zoning before we move onto cost?

Tim Cummings, Economic Development Director

Okay so moving on and talking about probably the subject that is of much interest to everyone. So I had an initial cost
estimate done by Harvey which before I pull it up I’m going to note that this cost estimate was done under certain baseline
assumptions, including that the auditorium would be a stand-alone building and it would be market ready type conditions.
Additional study is necessary so everyone understands. By no means what I’m saying here is the end result but the
beginning of the conversation and I hope as I get more direction, we’ll be able to refine this and I’ll be able to better
discuss with you what the costs are. This is a jumping off point. Really we need to get a sense as to what type of
strategies you’d like to have from a development perspective so we can value engineer the costs and that’s what basically
this paragraph says right here. Depending on what you’d like to do because everything is about trade-offs, we can get a
better sense of the cost estimate. I’ve heard a lot about this cost estimate and so it’s up on the website. I hope folks will
go and look at it.

I misspoke once early on when I referred to it being Fitzemeyer and Tocci’s recollection or recommendation that $10
million would be for HVAC. I wasn’t as accurate as it could be so I made one change on July 11th to make sure it was
noted that what actually Fitzemeyer and Tocci said specifically is baseline you need to spend about $10 million on MEP
and FP which HVAC is included in that but this is a little bit more robust of a category to include mechanicals, electrical,
plumbing and fire protection. HVAC being one of those components. And again as a stand-alone building to bring it up to
a market level condition, remind you the auditorium I do not believe has air-conditioning today. At a minimum, you’re
going to need to spend $10 million. Our architects are recommending must haves – bathrooms, an MEP closet in
addition. Now that addition they recommend 13,000 square feet. Could that be more? Could that be less? Could you do
it more efficiently? Yes but they’re saying for just the start of a conversation 13,000 square foot addition is necessary.
That will give you that lobby space that is not included in the current Keefe but necessary to have, again, a market
functioning type of auditorium.

Now the Harvey numbers as presented is just under $17 million. I’m saying let’s call it $18 million and those numbers
exclude some very important cost items that go into a total project cost number. I had found that we focus on the hard
construction cost numbers here and then sometimes forget that there are additional soft costs that go into a project. I
wouldn’t want to misrepresent anything and I wouldn’t want anyone to be surprised so this $18 million hard construction
cost you would still need to include a 10% owners contingency. I’m suggesting escalation of at least through 2024 you
may want to do it through 2025, that I guess is a little debatable but a design fee so architectural design fee to do
something with the building. You’re going to need to have another 10%. Other soft costs that are not design fee related
that go into just development of about 20% and then an estimating or design contingency which is standard practice when
you’re starting a project this early on at 15%. That is how you arrive at that $30 million figure and that is just…

Chairman Moran

Alderman Clemons and Alderman Jette?

Alderman Clemons

So now this is assuming that you tear down the rest of the building, correct?

Tim Cummings, Economic Development Director
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Correct.

Alderman Clemons

I would imagine that would be cost savings if the building wasn’t torn down in the sense that you could use some of the
space that’s already built and already there for some of these things that would be looking to add on. Is that correct?

Tim Cummings, Economic Development Director

If I may? Yeah, I’m going to say yes with a caveat. So it’s not as straight forward as that. In theory, yes. If you were to
keep the existing building with the auditorium together and you use it only for what it’s currently used as and defined in the
building code as an educational use, then yes you could avoid a lot of this cost. Now the question is, is there a market for
an educational-type use? When I say an educational-type use, I’m not talking about a school. It could be more creative
like a private sector preschool could take a portion of the building, the YMCA, the Boys & Girls Club, recreational type
uses. You could look to use the building in that way but you couldn’t be able to put apartments in the building. That would
be changing the building code use. If you did that, you would trigger not necessarily all these upgrades by you’d be
triggering a lot of them and you’d still need to do that if you were to change the use of the building.

Alderman Clemons

Follow up. So I guess what I imagined here, do you know is the building a steel structure or no?

Tim Cummings, Economic Development Director

No.

Alderman Clemons

It’s not. Okay. So that’s why it’s problematic most likely. My thought of this is that you know we don’t need the Taj Mahal,
right? So what we need is the Keefe Auditorium. So I understand that there are things that we might want in there but my
thought of this is we need to figure out a way to make this work that works for the constituents of the City who want the
Keefe, myself included, to stay and balance that out with what we can do on the building as far as the private development
side goes.

Tim Cummings, Economic Development Director

So if I may Mr. Chair? So one of the strategies I’ve been thinking about to do that is issuing an RFI to the community or a
request for information and solicit the community to see if there is an appetite for a strategic partner to come in and
maybe operator the building as an educational use and if maybe they would be willing to program it knowing that we would
have the Keefe, understanding that we would want to use the Keefe. I can’t tell you today that there isn’t someone out
there but I also don’t know. That’s why I’m thinking we extend this community engagement period. We give some time to
study this further. We issue the RFI. We solicit the market and we see if there is a strategic partnership that’s out there
where maybe there is an organization, a third part entity that will come in and say we have this need and we could use the
existing structure. We’re not going to get the tax revenue. There’ll be trade-offs. We’re not going to be able to get the
type of development that maybe we’re talking about in these slides but you’d preserve the Keefe at a much more
economical price.

Alderman Clemons

So I don’t think you’re following what I’m saying here. Whether we tear the building down that’s around the Keefe or not, I
think the idea is that there has to be a way to develop this at a lower cost in that $30 million that you have up there. I just
truly believe that that is the case. Now whether or not that means that we come up with a developer that we give away -
the property as opposed to selling it to bring down the cost and then we take revenue after the fact or if that means that
somebody like Spectacle would want to come in and use that or something of that nature. Or it could be that there is a
developer that wants a piece of the action on that theater. So that’s where I’m going with. I’m not looking to continue to
use that as an educational facility. What I’m looking for is an alternative that basically says we have the Keefe Auditorium
as it stands. We need to add things like maybe upgrade the bathrooms or something like that. There’s all those buildings
that are in the back of the Keefe. We could use those for whatever mechanical things we need in there but keep the
structure the way it is at a very low cost and do whatever we want with the rest of the property. That’s what I’m looking
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for. I’m not looking to do anything different than what you’re saying in any of those slides. I’m looking at it in a different
way.

Tim Cummings, Economic Development Director

So if I may? So that’s the type of direction I’m looking for. If there’s enough consensus by this body that you want to go in
that direction, there’s some innovative financing schemes that we could adopt. I would welcome that conversation. I’m
more than happy to try to move the project along in that direction. Some of it is going to be complicated. Some of it’s
going to be controversial. We’re going to be talking about potentially a New Market Tax Credit again. We’re going to be
talking about what is referred to as “project specific TIFs”. Not uncommon. Other parts of the country do it but we could
create some innovative financing plans to be able to do exactly what you’re doing. One of the things that you might want
to be looking at is looking to house it with a 501(c)3 that actually could get foundation type grants that the City of Nashua
would be precluded from because of we’re a municipal corporation and foundations don’t typically give to municipal
corporations but if you were to transfer that asset to a 501(c)3, that would be more attractive to that type of donation.
That’s the type of conversation we’re going to need to have if it’s the pleasure of the group.

Alderman Clemons

One last quick. That is exactly the strategy that I would like to see happen because I believe that theater holds a lot of
value in this City. I also think we need to balance out to the taxpayers and justify to them the cost of keeping it. I think if it
means that we have another convoluted structure or whatever it is, I’m okay with that. Unfortunately that’s the world we
live and that’s the way we have to do business. So if it means that’s going to save the taxpayers $15 million, or $10
million, or something like that to keep the structure, then I think it’s something that’s worthwhile. If it’s complicated, then
you know what it is what it is. So that’s my thoughts on it.

Chairman Moran

Alderman Jette thank you for being so patient.

Alderman Jette

Thank you. So I’ve got a few questions but first of all what is the MEP/FP?

Tim Cummings, Economic Development Director

Mechanical, electrical, plumbing and fire protection. Typically it’s referred to as HVAC. You know it’s your heating, it’s
your air-conditioning, it’s your plumbing. It’s more. It’s your plumbing, it’s your electrical, and in this case your fire
protection.

Alderman Jette

Okay. And an MEP closet is just a room to house that?

Tim Cummings, Economic Development Director

Your mechanicals, yeah, which for those of you who don’t know the existing conditions is all the mechanicals are housed
in another portion of the building. Depending on what you do in separating, you’re going to need to carry that forward if
you want to have the Keefe. You’re going to need to accommodate it in some way.

Alderman Jette

So thank you for answering that. So my thinking is that I think the Keefe does have a lot of value and is certainly valued
by a lot of people. I think before we make a decision, I think continuing seeking out opinions of people and getting input is
very valuable. I want to make sure that there is a need and a demand for the Keefe. If there is, I’m all in favor of keeping
it but I don’t want the Keefe as it is.

Tim Cummings, Economic Development Director

Can I ask a question? When you say “demand”, can you clarify what you mean by who’s the demand? Do you mean
demand by whom”?
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Alderman Jette

People would use it, people who frequent it, people who would support it.

Tim Cummings, Economic Development Director

So audience ticket sales?

Alderman Jette

Yes and the people who put on the shows.

Tim Cummings, Economic Development Director

Outside of Nashua or community groups?

Alderman Jette

It doesn’t matter where they come from.

Tim Cummings, Economic Development Director

You just want it used.

Alderman Jette

Is there enough of a demand to support this large a building, especially after the Center for the Arts gets established? If
there is, I would like to keep the building but I want it to be something that’s going to be practical. I don’t think the
numbers that you’ve come with. I trust your sources for these numbers are reputable people. I don’t think they’re making
the things up. I don’t think they’re exaggerating costs and I think we have to be realistic. If that’s what the cost is, that’s
what the cost is and we shouldn’t go down this road ignoring what the true costs are going to be.

The other thing that I think we have to bear is mind is that this is not like we’re building a brand new building on a brand
new lot and that the taxpayers are going to have to come up with all this money. That property is 9 acres. The Keefe part
of it is a small portion. So the rest of the property is going to be hopefully developed in some way. Somebody is going to
pay money. Someone is going to pay the City money to do that and I don’t know if you have any ballpark figure on what
that property is worth but if it costs $30 million to come up with a building that’s going to be comfortable for people, that
people are going to use, people are going to be attracted to. I mean I’ve gone to a lot of performances at Keefe and
anybody who’s been there knows the bathrooms are inadequate, the lobby area is adequate. Symphony New Hampshire
tried to introduce every other theater you go to you can buy wine and beer even mixed drinks but because it was attached
to a school, the School Department wouldn’t let them do that. With the school gone, now it becomes a potential for a very
attractive entertainment center. I think we ought to look at the numbers realistically. Don’t pretend they are not real but
remember if whatever the rest of that property can be sold for that money can be used as part of that $30 million. So it’s
not like taxpayers are going to come up with another $30 million which I’ve heard people say. No. We’ve got a piece of
property there that’s worth a lot more than that and we can theoretically, I think we can revamp, rebuild the Keefe, make it
a very attractive place with the money that we get from developing the rest of the property. I think we can sell the property
for more the $30 million. I think we’d still come out ahead.

Chairman Moran

How do we know what the property is worth?

Tim Cummings, Economic Development Director

I wouldn’t venture to guess today but I don’t think it would be $30 million. I do have a few comments if I may?

Chairman Moran

Yes, of course.
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Tim Cummings, Economic Development Director

So we had some initial assessments about what the demand is and I want to kind of address that. This is early and
preliminary and we should study it further. In speaking with even like Spectacle Live, a very reputable operator, just in
passing about what their thought was about the Keefe. Their initial take was you could program that without any problem.
They believe that there’s sufficient market demand. They think Nashua is a strong enough market. Again this is really in
the weeds and I know the average person in the public isn’t necessarily understanding or is interested in this but you’re
really talking about a different market of a venue when you’re at 1,500 seats vis a vie 750. What we’re learning is if you
were to look at the venue as a 1,500 seat, you can actually a lot more cost in your ticket prices so you can push some of
the AV expenses off to the talent because they can get it in their ticket price, and the talent still gets their quote that they
are looking for, and the venue still makes the profit that they’re looking for because you can spread that fixed cost over the
seats. They do believe that there is demand and it wouldn’t cannibalize the Performing Arts Center. That’s one the things
that I’m very concerned about but again, that’s what’s being represented to us at least initially. I think we need to study
that further but at least the preliminary indications are that there is enough demand if you wanted to go in that direction.

Chairman Moran

I think Alderman Thibeault, and then Alderman Klee, and then Alderman Gouveia. But I’ll make a point first is if that other
theory does get developed into residential, and that’s a very residential area, versus urban downtown, who wants to be
next to a theater that’s popping off until 2:00 in the morning? Keep that piece in mind.

Tim Cummings, Economic Development Director

No that’s a great thought and a concern that I have Mr. Chair. To that point, I think how you lay out and design the site is
going to be really important. So having this direction is critical. I can say, I’ve learned that it has been done. The
Chevrolet Theater in Medford, MA, existing structure has housing in it and is a Performing Arts Center venue. So I think
there are some places that we could look at and see how it’s done. I’m not suggesting we do that, you know, but we
wouldn’t be inventing the wheel here.

Chairman Moran

Alderman Thibeault?

Alderman Thibeault

Thank you Mr. Chairman. So I read in the paper that the only way that we could save this is $30 million. I just don’t think
that’s true. I think when so many people in the City are saying they want this to stay, I think it’s important that we look for
alternatives. I think both Alderman Clemons and Alderman Jette have put out some good thoughts on this so I’m not
going to rehash what they said. That’s what we’re here to do. We’re here to try to do what the City wants. If the City
wants to try to put this out there, I think we have to look for different ways. It’s too bad that Alderman Dowd’s not here
because he’s telling me you can build it for a lot cheaper. I wish he was here because he has the experience that I do not.
I know the companies you’re going through Harvey and some of those are the same ones that he’d be going through as
well but he also may have some ideas on different things we can do. I’ll go on record saying and I’ve gone on record. I
know people may not believe this but if it came to a vote today at $30 million to keep it, I wouldn’t vote $30 million to keep
it unless we had a lot of alternative financing that didn’t put that $30 million right back on the taxpayer. People may not
believe that but I said it multiple times. I will not do that.

This theater has things like Nashua Symphony that has nowhere else to go. I know we wouldn’t pay $15 million or $20
million just to keep the Nashua Symphony but there’s a lot of other organizations here that we would be kicking out. It
being the largest auditorium in the State, I’m assuming we could fill it up and use it for a lot of different things. It doesn’t
have to be musical or play. It could be used for conventions and many other different types of things. I think it’s
important, again, it’s important and people want it. So why aren’t we pursuing different ways? I’ll on board with the
different ideas.

Tim Cummings, Economic Development Director

Can I respond? So one thing to just kind of get it out there. So and again, I’m just kind of providing the information for
you all. When we surveyed the public so you’re saying everyone wants it, the initial survey…

Alderman Thibeault
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Obviously not everyone.

Tim Cummings, Economic Development Director

We got 1,000 respondents. It was split 50/50. So just be aware 50% said keep it, 50% said we don’t care if you keep it.
So just be aware of that. It’s one of the things I’m struggling with because I can’t make a recommendation to you and say
that there is clear consensus in the community. This is going to be something that each one of you are going to need to
think long and hard on and decide what you because you’re the one that’s elected to represent the values of this
community. You’re going to need to show some leadership as to what you believe the future of Nashua is.

I do think the $30 million could come down. I’d be misrepresenting it if I said to you that this was a $10-$15 million
project. Is it a $20-$25 million project, maybe? As we get further into study, could we drive that $30 million down by
making value engineered decisions by not providing some of the stuff that I’m calling market ready? Yeah and that’s a
conversation that we can have. We can also create some of those alternative financing plans we were talking about a few
moments ago but I need direction from you all as to if we get - and I’m making this number up. I’m just totally pulling it out
of the air. Let’s say we get $10 million in development rights. Are you going to want to take all $10 million and put it into
the Keefe and then look to borrow the other $10 million? Let’s say it’s a $20 million project and if it’s that 10, do you want
to make it based on just the future development so you’re not actually burdening the rest of the Nashua taxpayers
because you’re keeping it self-contained in the district? We can develop that and maybe that’s what you’d be looking to
do. Just know the trade off to that is there’s going to be no additional money for whatever governmental services that may
be required. Everyone uses the additional children in the school system. I don’t think that’s a concern because we have
more than enough enrollment space but there’s other impacts that would have to be mitigated. It’s a choice that you’d be
making. You’d be electing to put that all into this type of project.

So it’s that type of dialogue that I’d be looking to have with the Board of Aldermen over the coming weeks, over the
coming months to be able to move this along. Most importantly what I want to do is accurately represent what the
consensus is of the Board of Aldermen to the private sector. The worse thing I could do is start talking to developers and
leading them to believe there was consensus on something. They start spending hundreds of thousands of dollars in
designing thinking that they’re going to be able to move a project forward and then I bring it before you and there isn’t that
consensus that I may have represented.

Chairman Moran

Follow up? Alderman O’Brien can you take over chairing this for a couple of minutes? I’ve got Thibeault, Klee, and then
Gouveia.

Alderman Thibeault

Just a follow-up. So yeah I probably over spoke when I said everybody. Not everybody wants it. Probably not everybody
even in this room. But I think you’ve got the 50/50. The same article I read where the $30 million said a lot of people
wanted it. Probably more than 50%. The people that I talked to want it. Do they want it at the price? That’s a different
question, right? Do they want it at $20 million? Do they want it at $30 million? It’s going to go down the higher you go up,
right? I’m not in that $30 million bucket but I might be in the 20 or 15 if it would ever get that low. So I just want to make
that clear. I’m not saying every single person wants it. Obviously, that’s just untrue but I think this one because it’s
already there, people go oh it can’t be as much as the PAC but it’s more than the PAC. That doesn’t make any sense to
me. Why would it be more to create a whole new building as opposed to just adding some stuff? I get it. Cost has gone
up too. Will it go down in two years, I don’t know probably go up more. I don’t know.

Chairman O’Brien

Alderman Klee?

Alderman Klee

Thank you Mr. Chairman. Adding on to my colleagues here to my right. I like the idea of creative thinking so I appreciate
you having brought that forward. When I looked at the slides that you had from the previous July 11th I think it was
community meeting, one of the things you did, and I think you put the slide up here, was that the Keefe Auditorium you put
use groups of the Symphony of NH, Actor Singers. I won’t go through all the list but many of these I do know currently do
use this. Do all of them or this is just kind of a taste of what we could have?
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Tim Cummings, Economic Development Director

If I may. So a lot of the community groups use it but not a lot. But what you have to keep in the back of your mind is
they’re subject to the school’s oversight. So I do think it’s a paradigm shift when it potentially becomes more available and
it can become more available in the terms that they would like, for instance, the liquor sales. We do have community
groups that do use it. We know that. I would be misrepresenting it to you if I told you it was a lot. Right out of 52 weeks a
year, you might see it used 12 times but what I would suggest is that’s the baseline. If we wanted to do it, we would work
towards developing it in a way that it’s used I would suggest 70 - 75% of the time. You know have very limited sleepy,
quiet periods so it’s productive. But we would have to engage probably some market professionals to help us understand
that.

Spectacle I think is a great resource. I don’t want to bias it to suggest that they would get the contract though so I’m very
concerned about that. They obviously are a local entity that is very sophisticated. Would it make sense to have them run
it because there’s an efficiency there? Maybe. Maybe then they start paying the City of Nashua some money because
they have two venues that they’re operating. I think if so charged those are the conversations you’d like me to have, I’d be
happy to have those conversations.

Alderman Klee

Follow-up? Thank you very much for those comments. I agree having as few blackout dates as possible is something
that is important to keep it alive. Currently as you said, it might be used 12 weeks versus the 52 weeks but that in part is
also because there is no AC. After this heatwave we’ve had, you cannot put anybody in that tuna can. It would be just too
difficult.

I agree with the sticker shock of $30 million and I can’t ask people to put up $30 million. I like the idea of creative
financing, etc. and doing these different types of ideas. I would also like to know is it possible to do the baby steps? I
know you said $30 million just to fix the Keefe if we got rid of the other building. Is it possible to come up with some ideas
relative to upgrading it to have the HVAC, to have the air conditioning so that once it gets back to the City that we could
kind of do something like that without necessarily having to knock down the building? Because I mean I’ve been at those
meetings and I also hear people talk about wanting to keep the gym so that we have another sports venue and so on. So
these are just I know conversations you’ve been hearing, you’ve been having, and so on. I’d like to kind of look at that as
well.

How can we get air-conditioning into this without having to maybe necessarily do this entire I think you referred to it as
MEP room and so on. I know it puts a real burden on you but as many ideas as we could possibly have. I went to the
meetings and I didn’t get to go to the second one but I did go to the first one I think. I have watched them and I have
looked at these things. I just felt like we could put the apartments here, do the garage here, and put the Keefe here.
There were three plans when I know there possibly can be more plans. I remember looking at those boards when we put
the little stickers and so on. One was to keep the gym, one was to not keep the gym. I think having as many ideas as
possible. If that were brought to us, then we could say - and I know you can’t give us a dollar amount to all of them but we
could at least judge here listening our constituents, listening to what it is that would be best for the community. I
understand in the case of the Alderman from Ward 6, his constituents aren’t going to want a 10-story building blocking
their view and everything like that. So we’d have to keep them in mind as well in this conversation. I hate to put that
much more work on you but I think it would give us an easier way of making a decision that would be rational. Can we do
baby steps? How much do we have to do at one time in order to make this feasible without being a burden to the City?

Tim Cummings, Economic Development Director

Yeah, thank you. So when you say, I’m hearing you say you want to take a phased incremental approach and what is the
initial cost that we’d have to take? So my question would be preserving the existing building is a priority for you?
Preserving the existing building would be a priority for you.

Alderman Klee

I want to say yes. The people that I hear from, yes that is what they want. If it were the will of the City that said no, we
don’t think we could do it. If we had an idea of okay - I know you said the $30 million but if we were than able to bring
something like Spectacle Live – again, I’m not saying them on and we were able to do this kind of thing - when we were
creating the Performing Arts Center I know we talked about the potential of income to come in if we were to keep it. So
what would be the potential income to come into the City? What will be the potential income to come into the City if we
abolish it and went - I think that’s kind of what the taxpayers need to hear is what is the bottom line? We know $30
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million. Maybe we can get $5 million, r $10 million, or whatever for that property how could we lower this cost? What are
all of the other options?

You did talk about creative type financing much what we did with the Performing Arts Center. If I remember correctly from
my Performing Arts Center days when we were talking about it, it was cheaper to knock that building down than to fix the
building that existed and I think that is probably why the Keefe, the cost of it would be so much higher than if we started
from scratch.

Tim Cummings, Economic Development Director

So Mr. Chair it’s really going to be important for me to get a sense, and I don’t need it this evening, as to preserving the
existing structure and taking that incremental approach or just preserving the Keefe and still taking an incremental
approach. Preserving the Keefe and having new development because the order of magnitude of what you need to do for
baseline improvements is very different if it’s new construction with new development no existing building. If you have an
existing building and we have an existing use that we’re trying to use, than that incremental cost may be dramatically less.

So just answering that fundamental question, yes we want to preserve the structure in some form because we value the
Keefe that much would help me then be able to say to well you’re really looking at a $10 million project. Now but you’ve
got to understand that you’re only going to be getting a preschool, a daycare type of use, and I can’t even represent to you
that this a private market operator that would be interested in that. That’s what we’re talking about here. Or conversely,
may not be $30 million. Maybe it’s $20 million, maybe it’s $25 million, maybe it’s $18 million but you have to pay that but
you’re going to get new construction all around it. That’s kind of like the two choices. Then it’s what type of construction
are you going to want to see there because some is going to be more valuable than others, less density, less value.

Chairman Moran

I have a question. Are you looking for us, the full Board or the PEDC to say each one of us go around and say I want to
keep the Keefe, I don’t want to keep the Keefe? What do you exactly want us to do?

Tim Cummings, Economic Development Director

Not tonight by any stretch but I want to keep this as an ongoing conversation. This is the start of an ongoing dialogue.
You’re hearing about it. I want you to think about it. I want you to have me back so I provide more updates. I want to
come before the Infrastructure Committee, talk about it. Ultimately, getting - and you’re one major stakeholder. There’s
outside community input so giving time for people to hear this, let it marinade out in the community, have them talk about
it. I want you to be able to hear from the Keefe Auditorium Commission. They’re another stakeholder. Engage them,
hear what they have to say, and then after there’s been some time, yeah I would like that direct feedback from the Board
of Aldermen because I’m going to have to spend a lot of time. Let’s face it, what we’re talking about is going to be very
controversial and honestly I don’t want to have that controversy again. Like I don’t need it.

Chairman Moran

So what I’m hearing is that this is a point in time of many steps to follow to get the Full Board’s buy in on what they want to
do. Mike’s Committee and then go back to the full Board where wouldn’t we have an executive session for something like
that?

Alderman O’Brien

If I may? Basically right now the building is owned. Let’s talk about the lineage of ownage. It is owned by the School
Department which is part of the City of Nashua, yes, but we don’t have any particular say. Once it’s vacated by the School
Department, then it comes back to the municipality which would come under the Infrastructure Committee. It would be
basically under the Lands and Buildings. Probably through that committee and others because this will need to be
discussed. Only as with all our committees, Infrastructure will make a recommendation at that particular time to the full
Board of Aldermen. So that’s basically what I see is the ground rules of the way this has got to be played out.

Chairman Moran

Yes because I would assume that your committee would make the recommendations on what happens with sale and all
that other stuff and then I know you’re so eager.
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Alderman O’Brien

Right but the thing is the like whenever this gets discussed at the Infrastructure Committee as Mr. Cummings has said, I
encourage the full Board to be there because it would help get everybody more on tune because this is a lot of moving
parts. It’s a complex issue. There’s nostalgia, you know, there’s practicality, there’s cost. So you’ve got to weigh the
balance.

Tim Cummings, Economic Development Director

If I could Mr. Chair. Just so you folks know for cost just to kind of keep in the back of your mind, it will probably be less
than this, but you’re operating costs to carry this building come 2024 will be about $200,000 - between $150 - $200,000 is
what the carrying costs would be. So just keep that number in the back of your mind that we’re going to have to
accommodate something like that.

Alderman O’Brien

Because once it gets back to the City, we’ve still going to have to heat it, and maintain the fire protection within it which
would be supervised by the City. Other than that, it becomes a derelict building. We don’t want that because then…

Chairman Moran

It’s probably going to go down.

Alderman O’Brien

Well no it’s not that. It could be an arson attempt or something like that. God forbid. So we’d have to have some security
and everything like that.

Chairman Moran

Follow-ups?

Alderman Klee

It actually was part of my talking about the groups that were using it. I just want to clarify also that once we do some kind
of construction and so on, the organizations that are using it right now such as the Symphony would have to vacate during
any kind of construction and so on which is why to my fellow members here, I would like to hear from the Symphony as
well as I think you mentioned the Keefe Association and so on. I think trying to get all of those people in to talk to us as
well. Basically saying to the Symphony if you had to vacate for whatever time, would you be willing to come back? That’s
something that lets us know whether or not they’re going to be a use group. I just wanted to put that out there.

Chairman Moran

Thank you Alderman Gouveia for patiently waiting. Go ahead.

Alderman Gouveia

Thank you Mr. Chairman. Yes I agree with my colleague at large. I think we could look at some creative ways of getting
this done and trying to obviously take more input from the community. Being in Ward 1, I don’t hear about this too much
to be quite honest. I haven’t had that many people reach out to me about it. It doesn’t mean there aren’t people in my
Ward who don’t like the Keefe. I know there are. So it’s just making sure this is done correctly and we’re looking at all
options to make sure we can try to come up with a happy medium in my opinion of what we could do with the spot. I
definitely do agree, I think we should look at more creative ways to finding funding for this project.

Chairman Moran

Any other questions? Anything else to add? Great. All right. We’ll work through the agenda.

COMMUNICATIONS - None
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UNFINISHED BUSINESS – None

PETITIONS - None

NEW BUSINESS – RESOLUTIONS - None

NEW BUSINESS – ORDINANCES - None

TABLED IN COMMITTEE - None

GENERAL DISCUSSION

Chairman Moran

I just want to thank you tonight for coming in Director Cummings. It was very informative sharing this information about
what’s going on at the Performing Arts Center and what will potentially happen at Elm Street. I think keeping the public as
up-to-date as possible so as you said to avoid controversy - in your own words – is very, very good for the City. So next
month you’ll actually be back here to talk about the Riverfront TIF and I believe you’ll be discussing what the plan is to
collect fees from the restaurants for outdoor dining next year. Any other general discussion?

PUBLIC COMMENT

Jerry Henrickson

Jerry Henrickson, 10 Wagon Trail, Nashua. I’ve lived in the same house for 43 years. So I’ve been here for a while.
Before that, I came back in the early days. I came first to work for Sander’s back in the ‘60’s. So I’ve been in Nashua for
most of my working life anyway.

On the Elm Street School there, to me if you really look at it you people what we really need here we’ve got a school there.
 It’s a substantial building. It was built when they really built and it. It was built out of brick and mortar. It’s not going to fall
down in the next time.

The other thing the City needs, this building here is not really the right building. What you could do is make it into a
campus and move all the City offices into that one area. It can be done very easily. There’s almost no and it’s set up for
that kind of a thing. You go down to Court Street. Court Street is not a place for a City. Yu can get in and out of that
place. The Education Department is looking for space in that. You can put all the space in one place I would think if you
really looked at it.

Also that would be something for the future in Nashua for the next 50 years. You’re never going to get another chance to
do that because one of these days you’re going to have to do something about the City structure. You’ve got a golden
opportunity right now to do it with that. By far I think it’s – you’re not going to get tax money out of it but it will be cheaper.
We already own this place. There’s plenty of parking spaces down there for people. The Keefe Auditorium - yes it’s a big
building. Are you going to fill it? Not easily. That’s only one part. That’s only about one fifth of what it is down there. The
rest of it is what you’ve got to look at.

Looking at the performing arts, I have nothing against the performing arts and nothing against the people that are doing it.
You’re talking about the attendance and that kind of thing. What happens now is the attendance in that, Nashua’s not
going to get any money back from that kind of thing.

Alderman Thibeault

30 seconds.

Jerry Henrickson

We put $29 million into the bond but they’re not going to get anything back. I don’t understand that one at all. You lost
control of the whole situation. But that’s my comments on that. Thank you.

Chairman Moran
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Sir just $25 million bond.

Jerry Henrickson

The bond was a $30 million bond. It was $29 million bond.

Chairman Moran

No, 25.

Jerry Henrickson

What’s $5 million in there you know.

Alderman Clemons

The bond is only $20 million.

Chairman Moran

The bond is only 20. But very valid comments for sure all around but especially Director Cummings if you can keep in
mind his concerns about moving City buildings into the Elm Street area. Thank you.

Jerry Henrickson

It’s difficult to hear Mr. Cummings from a handicapped standpoint. It really is a tough place to get around. If something
happened up on the third floor, God forbid, you have somebody in a wheelchair, what’s the first thing that happens is the
elevators go down.

Chairman Moran

I hear you but I have people signaling to me to cut you off. Your time’s up I’m sorry. There could be a little bit of humor a
second in these committee’s sometimes.

Laurie Ortolano

Laurie Ortolano, 41 Berkeley Street. I’d like to talk a little bit about public information and access to public information. I
filed a pretty big lawsuit last night against the City on economic development issues and one of them is the NPAC. I think
when you develop those two non-profit corporations under RSA162-g, you had an obligation to disclose what that meant.
So Attorney Leonard drew up that Resolution. In the analysis section, she copied the language right out of RSA162-g and
she said these non-profits are body politic, public corporations.

The Attorney General’s memo on Right-To-Know states that for 162-g and a host of other RSA’s, that it’s up to the
municipality to decide how the State Statute RSA 91-a applies to that. Now 162-g is what describes Business and
Industrial Development Authorities of which we have one which is a fully public entity. Dover’s Business and Industrial
Development Authorities, their bylaws and regulations they call out 91-a. So does their website page. I fully believe that
these two non-profits are 91-a companies because they’re profit companies. They’re public companies rather - non-profit
public companies.

Attorney Leonard would not define that. She didn’t carry her duty to disclose far enough to say what those entities were
and then they played the game the Legal office we’re going to hide behind attorney/client privilege. We can’t tell the public.
I’m okay with that to a certain extent as long as they told you and you can tell us but they didn’t tell you. Nobody here
seemed to know and couldn’t define it. For eight months I asked the same questions over and over again - Is this an RSA
91-a compliant entity and what information is available? I got the runaround. That’s how lawsuits get filed. I don’t think
that we should have to do that and I think the way you operate in the dark on this art center makes it look very shady.
Really inappropriate. I think those records should have been open. Now I’ve got to start a flood of Right-To-Knows that
are part of discovery for this lawsuit which I haven’t done a lot. It’s not my choice to do that. It will take me a couple
hundred right-To-Knows to peel this open and figure out what’s going on because I don’t have somebody to talk to. I don’t
have anyone I can communicate with. I have to write Right-To-Knows now. It’s really unfortunate.
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Alderman Thibeault

30 seconds.

Laurie Ortolano

You couldn’t understand my frustration weeks ago when Director Cummings and what’s going on here. Nobody could
understand it. If you took a look at that lawsuit, you don’t have the 334 pages of exhibits that went with it but I put an
enormous amount of time into that and I’ve got several more to file. It’s a lot of work. It’s not my preference but I don’t like
the way you’re operating and I wish you’d do something about it. You all have a responsibility to do that. Thank you.

Chairman Moran

Any other public comment?

Sarah Peratory

My name is Sarah Peratory, 7 (inaudible) Street.

I am encouraged by what I’ve heard here this evening. I think you guys are doing a great job and having the vision to bring
an art center to Nashua. I think that what we do with the Elm Street site, I’ve tried to use the survey. I get an error
message every time I try. So there may be an issue with responses there. But I wondered if the next step before you get
so very focused on what to do and who wants to do what is to have more listening sessions. Maybe public opportunities
for people to, you know, I pay attention to what’s going on and I barely knew there was a survey. So there is a lot of
people who don’t know and there’s a lot of people who may want to keep the existing historic buildings and may not but I
think to avoid the controversy that you were talking about, much more input from the public is warranted and open
conversations where things aren’t already determined like say this part and just like open it up and get people to talk about
it. I think there’s a lot of things out there that we could do that might not have occurred to anybody yet. So I would
encourage you to get more public input. Thank you.

Chairman Moran

Thank you for your comments. Anyone else for public comment?

REMARKS BY THE ALDERMEN

Chairman Moran

Alderman Thibeault?

Alderman Thibeault

Thank you Mr. President. I’m sorry Mr. Chairman, you never know! Just to her point. I love the public sessions. The only
problem I have with them is getting the word out enough that people show up because I’ve been to both of them and
there’s times when it’s been mostly Aldermen, and City officials, and Jerry was there but I’d like to see more input as well.
I send it out to my email list but I don’t have 10,000 emails for my Ward. I doubt any of us do. So trying to find a way to get
that out there so more people get involved would be great. I don’t know how to do it. We have our website but the survey
doesn’t work. So hopefully that will be fixed. But I would love to see more public sentiment on that. Any way we can get
people to participate would be great.

And then one thing I just wanted to recognize this past weekend on Sunday, there was a few of us there. The police
renamed the circle in front of Hayward’s - Edward “Rocky” Graziano Circle. I thought it was a great ceremony. His
children were there. Some grandchildren, Alderman Comeau, Alderman Klee, and Alderman Dowd were there as well. I
wanted to thank the people that endorsed it, including former Alderman Cathey, Alderman Comeau, Alderman Dowd, and
Alderman Gouveia. Great moment. It was a great ceremony. It was great to see the police come out to unveil that. So if
anybody’s gone by there, you’ll see the sign. I’m sorry if I took Alderman Comeau’s - I didn’t know if he was going to go
over that. It looked like he might of so I want to sorry for that. That wasn’t my intention. Thank you.

Chairman Moran
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Alderman Comeau?

Alderman Comeau

Thank you Mr. Chair. I was going to mention that but that’s fine. I also wanted to mention the survey should be up.
Director Cummings can confirm that if it’s working. The issue that the website was having has been resolved so if you
want to try to look at the survey now, it should work.

Chairman Moran

Alderman Clemons?

Alderman Clemons

A little off topic but the Nashua Silver Knights won their 6th Championship up in Vermont over the past Friday. I’m a big
fan. I go to a lot of the games and I think it’s great that we brought home a championship to Nashua, again, against very
heavy odds. The team was not doing well at the beginning of the year and then they came together and rallied to 3rd place,
got the 3rd seed, beat out the 2nd place team, lost 12-0 in the first game of 3 in the championship, and then came back in
the last 2 games in the bottom – one to Nashua in the bottom of the 9th, and then up in Burlington, VT, at the top of the 9th
to win both of those games. So tremendous job by those athletes, tremendous job by the team, and it makes me proud to
have the championship back here in Nashua.

Chairman Moran

Alderman Klee?

Alderman Klee

Thank you. The comments about getting the word out, I do think that falls on us as well. While I don’t get a hold of 10,000
people even if I get a hold of 400 or 600 people hopefully, they’re spreading the word and asking them to spread the word.
 I think Amy does as good a job as she can get it out there. It depends as to whether or not who it is that wants it or is
against it or something. I think sometimes that is part of the thing, so I do think the job does fall on us as well to try to
share it. I could do even a better job than I think that I have.

But I did also want to bring up the Silver Knights. I saw that this is the 2nd championship in a row that they’ve brought back
to us, right?

Alderman Clemons

Not in a row. No.

Alderman Klee

Oh, I thought they did it last year too. I thought that’s what I had read. Yeah congratulations to them as well.

I want to thank Mr. Chairman for bringing this the PAC and this meeting and I look forward to Director Cummings sitting in
this Committee as well as Alderman O’Brien’s Committee. We might as well just set up a tent for you. You will be here
more and more but thank you so much for doing this for us as well.

Chairman Moran

Alderman Wilshire?

Alderman Wilshire

Thank you. Just on Alderman Clemons remarks. I’m hoping the Red Sox can take a lesson from the Silver Knights
because they started out rough and they’re still pretty rough.

Alderman Clemons
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No comment.

Alderman Wilshire

I know. You’re a Yankee’s fan.

Alderman Clemons

I am.

Alderman Wilshire

I’d also like to thank Director Cummings and Rich Lannan for sharing their information with us this evening. It was very
informative so thank you.

Chairman Moran

Anyone else? Alderman O’Brien do you have a Motion?

ADJOURNMENT

MOTION BY ALDERMAN O’BRIEN TO ADJOURN
MOTION CARRIED

The meeting was declared closed at 9:11 p.m.

                                                         Alderman Derek Thibeault
                                                         Committee Clerk
